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                             NOT FOR PUBLICATION                           FILED
                      UNITED STATES COURT OF APPEALS                       MAR 23 2021
                                                                        MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
                             FOR THE NINTH CIRCUIT

  WILLIAM A. MASTERS,                             No. 19-55757

                  Plaintiff-Appellant,            D.C. No. 2:19-cv-02030-MWF-
                                                  AGR
   v.

  XAVIER BECERRA, in his official capacity MEMORANDUM*
  as the Attorney General of the State of
  California,

                  Defendant-Appellee.

                    Appeal from the United States District Court
                        for the Central District of California
                   Michael W. Fitzgerald, District Judge, Presiding

                              Submitted March 16, 2021**

  Before:      GRABER, R. NELSON, and HUNSAKER, Circuit Judges.

        William A. Masters appeals pro se from the district court’s judgment

  dismissing his action alleging constitutional claims related to California Welfare

  and Institutions Code § 8100(b) and § 8102(a). We have jurisdiction under 28



        *
               This disposition is not appropriate for publication and is not precedent
  except as provided by Ninth Circuit Rule 36-3.
        **
               The panel unanimously concludes this case is suitable for decision
  without oral argument. See Fed. R. App. P. 34(a)(2).
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  U.S.C. § 1291. We review de novo a dismissal under Federal Rules of Civil

  Procedure 12(b)(1) and 12(b)(6). Conservation Force v. Salazar, 646 F.3d 1240,

  1241 (9th Cir. 2011). We may affirm on any basis supported by the record.

  Yagman v. Garcetti, 852 F.3d 859, 863 (9th Cir. 2017). We affirm.

        Dismissal of Masters’s Second Amendment challenge was proper because

  Masters failed to allege facts sufficient to state a plausible claim. See United States

  v. Chovan, 735 F.3d 1127, 1136 (9th Cir. 2013) (setting forth two-step Second

  Amendment inquiry to determine appropriate level of scrutiny for challenged law);

  see also Silvester v. Harris, 843 F.3d 816, 823 (9th Cir. 2016) (noting “near

  unanimity” that intermediate scrutiny is appropriate when considering regulations

  that fall within the scope of the Second Amendment). Even if strict scrutiny

  applies, Masters failed to allege facts sufficient to show that the statute is not

  narrowly drawn to serve a compelling state interest. See Green v. City of Tucson,

  340 F.3d 891, 896 (9th Cir. 2003) (explaining strict scrutiny); cf. Dist. of Columbia

  v. Heller, 554 U.S. 570, 626-27, 627 n.1 (2008) (explaining that the right secured

  by the Second Amendment is not unlimited; setting forth nonexhaustive list of

  presumptively lawful regulatory measures).

        Dismissal of Masters’s facial and as-applied procedural due process

  challenges was proper because Masters failed to allege facts sufficient to state a

  plausible claim. See Ashcroft v. Iqbal, 556 U.S. 662, 678, 681 (2009) (to avoid



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  dismissal, “a complaint must contain sufficient factual matter, accepted as true, to

  state a claim to relief that is plausible on its face” and conclusory allegations are

  not entitled to be assumed true (citation and internal quotation marks omitted));

  Zinermon v. Burch, 494 U.S. 113, 125-28 (1990) (setting forth factors from

  Mathews v. Eldridge, 424 U.S. 319, 335 (1976), to determine what procedural due

  process protections are required in a particular case; circumstances in which a

  statutory provision for a postdeprivation hearing satisfies due process include

  necessity of quick action or impracticality of providing predeprivation process);

  see also Cal. Welf. & Inst. Code § 8100(b)(3) (setting forth procedure available to

  a person subject to firearm prohibition under § 8100(b)(1) to petition the superior

  court for an order that he or she may own, possess, have custody or control over,

  receive, or purchase firearms).

        We do not consider arguments and allegations raised for the first time on

  appeal. See Padgett v. Wright, 587 F.3d 983, 985 n.2 (9th Cir. 2009).

        AFFIRMED.




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